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  1   CENTER FOR HUMAN RIGHTS & CONSTITUTIONAL LAW
  2   Carlos R. Holguín (Cal. Bar No. 90754)
      256 South Occidental Boulevard
  3   Los Angeles, CA 90057
  4   Telephone: (213) 388-8693
      Email: crholguin@centerforhumanrights.org
  5
  6   NATIONAL CENTER FOR YOUTH LAW
      Leecia Welch (Cal. Bar No. 208741)
  7   Neha Desai (Cal. RLSA No. 803161)
  8   Poonam Juneja (Cal. Bar No. 300848)
      Freya Pitts (Cal. Bar No. 295878)
  9   Mishan Wroe (Cal. Bar No. 299296)
 10   Melissa Adamson (Cal. Bar No. 319201)
      1212 Broadway, Suite 600
 11   Oakland, CA 94612
 12   Telephone: (510) 835-8098
      Email: lwelch@youthlaw.org
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 15
                            UNITED STATES DISTRICT COURT

 16
                           CENTRAL DISTRICT OF CALIFORNIA

 17
                                      WESTERN DIVISION

 18
 19   JENNY LISETTE FLORES, et al.,           No. CV 85-4544-DMG-AGRx

 20         Plaintiffs,                       APPLICATION FOR LEAVE TO FILE UNDER
                                              SEAL PORTIONS OF EXHIBITS B, C, D, I,
 21   v.                                      AND J SUBMITTED IN SUPPORT OF
 22                                           PLAINTIFFS’ RESPONSE TO THE
      WILLIAM BARR, Attorney General of
                                              NOVEMBER 16, 2020 JUVENILE
 23   the United States, et al.,
                                              COORDINATORS’ INTERIM REPORTS
 24
            Defendants.                       Hearing: Dec. 4, 2020
 25
                                              Time: 11:00 a.m.
 26                                           Hon. Dolly M. Gee
 27
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  1        APPLICATION FOR LEAVE TO FILE UNDER SEAL PORTIONS OF
  2       EXHIBITS B, C, D, I, AND J SUBMITTED IN SUPPORT OF PLAINTIFFS’
  3       RESPONSE TO THE NOVEMBER 16, 2020 JUVENILE COORDINATORS’
  4                                   INTERIM REPORTS
  5          Plaintiffs submit this Application1 seeking leave from the Court to file under
  6   seal portions of Exhibits B, C, D, I, and J submitted in support of Plaintiffs’
  7   Response to the November 16, 2020 Juvenile Coordinators’ Interim Reports,
  8   pursuant to Federal Rule of Civil Procedure 5.2(d) and Local Rule 79-5. The
  9   portions of the Exhibits B, C, D, I, and J Plaintiffs seek to seal contain personally
 10   identifying information about children in Department of Homeland Security
 11   (“DHS”) and Department of Health and Human Services (“HHS”) immigration
 12   custody. As required by Local Rule 79-5.2.2(a), Plaintiffs submit concurrently with
 13   this application the declaration of Leecia Welch, a proposed order, and redacted and
 14   unredacted versions of Exhibits B, C, D, I, and J.
 15          The portions of Exhibits B, C, D, I, and J that Plaintiffs seek to seal are
 16   detained children’s names, dates of birth, and ID numbers, as well as a few other
 17   personal characteristics, which can be used to identify them.2 The children
 18   identified in Exhibits B, C, D, I, and J are minors in the immigration detention
 19

 20
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 21     Defendants’ counsel (Ms. Sarah Fabian, Senior Litigation Counsel, Office of
      Immigration Litigation, PO Box 868. Ben Franklin Station, Washington, DC
 22   20044, (202) 532-4824, Sarah.B.Fabian@usdoj.gov) has informed Plaintiffs that
 23   Defendants oppose this Application because they oppose Plaintiffs’ filing a
      response to the Juvenile Coordinators’ Reports. Defendants did not indicate any
 24   opposition to the Application on the basis of the information Plaintiffs seek to seal.
 25   See Declaration of Leecia Welch at ¶ 7.
      2
 26    Specifically, Plaintiffs seek to seal the date children were apprehended and certain
      details regarding how they arrived to the United States, where they arrived from,
 27
      and the location of their prior placements which, given the low census of children in
 28   DHS and HHS custody, may be used to identify them.

                                                 1                   APPLICATION FOR LEAVE TO FILE UNDER SEAL
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  1   custody of DHS and HHS. These youth have an interest in maintaining their
  2   privacy during and following immigration custody.
  3                                   LEGAL STANDARD
  4         Because the public generally has a “right to inspect and copy public records
  5   and documents, including judicial records and documents,” there is “a strong
  6   presumption in favor of access to court records.” Ctr. for Auto Safety v. Chrysler
  7   Grp., LLC, 809 F.3d 1092, 1096 (9th Cir. 2016) (internal quotation marks and
  8   citations omitted). Accordingly, “a court may seal records only when it finds a
  9   compelling reason and articulate[s] the factual basis for its ruling, without relying
 10   on hypothesis or conjecture.” Id. at 1096-97. Under this standard, the “party
 11   seeking to seal a judicial record then bears the burden of . . . articulat[ing]
 12   compelling reasons supported by specific factual findings . . . that outweigh the
 13   general history of access and the public policies favoring disclosure, such as the
 14   public interest in understanding the judicial process.” Kamakana v. City & Cty. of
 15   Honolulu, 447 F.3d 1172, 1178-79 (9th Cir. 2006) (internal quotation marks and
 16   citations omitted). The court must “conscientiously balance[] the competing
 17   interests of the public and the party who seeks to keep certain judicial records
 18   secret.” Id. at 1179 (internal quotation marks and citations omitted).
 19                                        ARGUMENT
 20         There are compelling reasons to seal portions of Exhibits B, C, D, I, and J
 21   Submitted in Support of Plaintiffs’ Response to the November 16, 2020 Juvenile
 22   Coordinators’ Interim Reports. Exhibits B, C, D, I, and J contain the names and ID
 23   numbers of children which is the information Plaintiffs seek to seal. The ID
 24   numbers are unique identifiers that could be used to ascertain the identities of these
 25   children, who are in immigration custody. In addition, because there are currently
 26   relatively few class members in ORR custody and at Nexus Children’s Hospital
 27   (“Nexus”) in particular, Plaintiffs seek to seal a number of other personal
 28   characteristics in Exhibits I and J because public disclosure of these particular

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  1   details would identify the class member declarants who were placed at Nexus as of
  2   November 13, 2020.
  3   I.    Compelling reasons support the sealing of the personally identifying
  4         information of children in DHS and HHS custody.
  5         Plaintiffs’ Response to the November 16, 2020 Juvenile Coordinators’
  6   Interim Reports and the supporting Exhibits implicate the privacy interests for the
  7   children held in DHS and HHS custody and thus protection of their identities is
  8   warranted. First, the Exhibits address personally identifying details such as names
  9   and dates of birth, details of the children’s immigration detention, and how they
 10   arrived in the United States. Federal law and policy maintain personally identifying
 11   information related to such matters as confidential, particularly for minors in
 12   federal immigration custody. See, e.g., 8 C.F.R. § 236.6 (prohibiting release of “the
 13   name of, or other information relating, to” immigration detainees); 8 C.F.R. § 208.6
 14   (maintaining confidentiality of asylum applications and related records).
 15         Further, the children’s identifying information should also be protected
 16   because the sensitive subject matter at issue—their immigration detention—is based
 17   exclusively on their experiences as minors. Courts consider the age of a party to be
 18   a “significant factor in the matrix of considerations arguing for anonymity” based
 19   on a recognition of the “special vulnerability” of minors. Doe v. Stegall, 653 F.2d
 20   180, 186 (5th Cir. 1981); see also Sealed Plaintiff v. Sealed Defendant #1, 537 F.3d
 21   185, 190 (2d Cir. 2008) (stating that an important factor in the balancing inquiry is
 22   “whether the plaintiff is particularly vulnerable to the possible harms of
 23   disclosure, particularly in light of his age”) (internal citations omitted).
 24         Sealing of the names, ID numbers, and other personally identifying
 25   information of the children listed in Exhibits B, C, D, I, and J is necessary to protect
 26   their identities. These ID numbers are individual identifiers that uniquely identify
 27   the children to whom they correspond. Moreover, sealing of the class member’s
 28   country of origin, and description of the class member declarants’ journey to the

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  1   United States in Exhibit I; and the details of the class member’s prior placement in
  2   Exhibit J, is vital because of the likelihood that this information would lead to
  3   public disclosure of these children’s identities due to the small number of class
  4   members placed at Nexus Children’s Hospital and other secure placements. In these
  5   cases, the small ORR census significantly increases the likelihood that the class
  6   member declarants of Exhibits I and J would be identifiable if that specific personal
  7   information is not sealed.
  8   II.   Plaintiffs’ sealing request is narrowly tailored.
  9         Plaintiffs seek only a limited sealing order that permits them to file portions
 10   of Exhibits B, C, D, I, and J under seal. Other relevant information important to
 11   Plaintiffs’ presentation of the issues would still be maintained in the public record,
 12   and the Court’s resolution of these matters will be public as well. Accordingly,
 13   sealing the names, ID numbers, and other personally identifying information
 14   contained in Exhibits B, C, D, I, and J is the least restrictive method of ensuring the
 15   subject children’s privacy while permitting the public access to the maximum
 16   amount of information.
 17                                      CONCLUSION
 18         For the reasons set forth above, Plaintiffs respectfully request leave to file
 19   under seal portions of Exhibits B, C, D, I, and J.
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                                                 4                     APPLICATION FOR LEAVE TO FILE UNDER SEAL
                                                                                        CV 85-4544-DMG-AGRX
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  1   Dated: November 23, 2020    CENTER FOR HUMAN RIGHTS AND
                                  CONSTITUTIONAL LAW
  2                               Carlos R. Holguín
  3
                                  NATIONAL CENTER FOR YOUTH LAW
  4                               Leecia Welch
  5                               Neha Desai
                                  Poonam Juneja
  6                               Freya Pitts
  7                               Mishan Wroe
  8
  9                               ___________________________________
                                  /s/ Leecia Welch
                                  Leecia Welch
 10                               One of the Attorneys for Plaintiffs
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  1                             CERTIFICATE OF SERVICE
  2         I hereby certify that on November 23, 2020, I caused a copy of Plaintiffs’
  3   Application for Leave to File Under Seal, the accompanying Declaration in Support
  4   of the Application, and Exhibits B, C, D, I, and J to be served by email to the
  5   following counsel listed below:
  6
      Sarah B. Fabian,
  7   sarah.b.fabian@usdoj.gov
  8   Civil Division – Office of Immigration Litigation
      US Department of Justice
  9   PO Box 868
 10   Ben Franklin Station
      Washington, DC 20044
 11
 12
      Dated: November 23, 2020
 13                                                        /s/ Leecia Welch
 14                                                       Leecia Welch
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                                                6                     APPLICATION FOR LEAVE TO FILE UNDER SEAL
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